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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

RAUL ARCHULETA, ISAAC MARTINEZ,
TRINA SUAZO-MARTINEZ, DANIEL
FRANK, MICHELLE CORIZ, ADRIANNA
MARTINEZ, VALLERIE LAMBERT,

and SAM SPROW,

Case No. 1:21-cv-01030-KWR-SCY
Plaintiffs,

Vv.

TRIAD NATIONAL SECURITY, LLC, d/b/a
LOS ALAMOS NATIONAL LABORATORY,
and THOMAS MASON, Director of Los Alamos
National Laboratory, in his official capacity,

Nm me me ee ee ee ne ee ee ee ee ee ee nee” ee”

Defendants.

DECLARATION OF MICHELLE CORIZ

Plaintiffs hereby file the attached Declaration of Plaintiff Michelle Coriz as her verification
to the Amended Verified Complaint.
LAW OFFICE OF ANGELO J. ARTUSO

By: /s/Angelo J. Artuso

Angelo J. Artuso

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and
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THOMAS MORE SOCIETY

By: /s/B. Tyler Brooks

B. Tyler Brooks*

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CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing Declaration of Michelle Coriz
was served on all counsel of record by filing the same in the CM/ECF system this 28" day of

October, 2021.

/s/ Angelo J. Artuso
Angelo J. Artuso

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